Case 1-21-40664-nhl   Doc 17-1   Filed 03/25/21   Entered 03/25/21 15:25:21




            Exhibit A
     Case 1-21-40664-nhl            Doc 17-1       Filed 03/25/21   Entered 03/25/21 15:25:21




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------- x
In Re:                                                  :
                                                        :   Case No. 19-43441 (NHL)
41-23 Haight Street Realty, Inc.,                       :
                                                        :   Chapter 11
                                                        :
                                      Debtor.           :
                                                        :
                                                        :
------------------------------------------------------- x


     APPOINTMENT OF OFFICIAL COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, the United States Trustee for Region 2, under 11 U.S.C.

sections 1102(a) and (b), hereby appoints the following creditors to the Official Committee of

Unsecured Creditors of 41-23 Haight Street Realty, Inc.:



1.      Wei Zhu
        10 Henry Lane
        Hilton Head Island, South Carolina 29928
        tel: (843) 422-2509


2.      Matthew Krepil
        62 Westchester Drive
        Rocky Point, New York 11778
        tel: (631) 987-6581




                                                        1
     Case 1-21-40664-nhl    Doc 17-1   Filed 03/25/21   Entered 03/25/21 15:25:21




3.    LDWS LLC
      45-15 215th Street
      Bayside, New York 11361
      tel: (214) 837-9648
      Attn: Wendy Win Qin Lu


Dated: West Orange, New Jersey
       July 17, 2020
                                              Respectfully submitted,

                                              WILLIAM K. HARRINGTON
                                              UNITED STATES TRUSTEE, REGION 2

                                       By:    /s/ Nazar Khodorovsky
                                              Nazar Khodorovsky
                                              Trial Attorney
                                              201 Varick Street, Suite 1006
                                               New York, New York 10014
                                              Tel. No. (212) 510-0500




                                          2
